13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 1 of 56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 2 of 56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 3 of 56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 4 of 56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 5 of 56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 6 of 56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 7 of 56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 8 of 56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 9 of 56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 10 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 11 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 12 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 13 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 14 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 15 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 16 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 17 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 18 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 19 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 20 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 21 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 22 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 23 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 24 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 25 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 26 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 27 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 28 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 29 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 30 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 31 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 32 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 33 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 34 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 35 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 36 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 37 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 38 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 39 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 40 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 41 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 42 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 43 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 44 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 45 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 46 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 47 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 48 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 49 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 50 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 51 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 52 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 53 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 54 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 55 of
                                        56
13-53446-rbk Doc#2 Filed 12/20/13 Entered 12/20/13 16:03:57 Main Document Pg 56 of
                                        56
